Case 1:21-cv-00796-MEH Document 44 Filed 07/08/22 USDC Colorado Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO



Civil Action No. 21-CV-00796-MEH


UNITED STATES OF AMERICA,
                              Plaintiff
       v.


121 ASH ROAD, BASALT, COLORADO
                              Defendant



            HENKE PROPERTY LLC’S NOTICE OF FILING AMENDED ANSWER


       COMES NOW Henke Property, LLC (“Henke”), and files this notice of filing an

amended pleading pursuant to Local Rule 15.1(a) of the United States District Court for

the District of Colorado. Henke has conferred with plaintiff United States of America, and

plaintiff consents to the filing of this amended Answer. In accordance with Local Rule

15.1(a), a copy of Henke’s Amended Answer is attached as Exhibit A to this notice, with

the text to be deleted stricken through and the text to be added underlined. Henke

respectfully requests that the Court allow Henke to file this amended pleading to which

plaintiff does not object.
Case 1:21-cv-00796-MEH Document 44 Filed 07/08/22 USDC Colorado Page 2 of 3




      DATED this 8th day of July 2022.


                                               King & Spalding LLP
                                               /s/ Cliff Stricklin
                                               Cliff Stricklin
                                               1401 Lawrence Street
                                               Suite 1900
                                               Denver, Colorado 80202
                                               Phone (720) 535-2327
                                               cstricklin@kslaw.com




                                         -2-
Case 1:21-cv-00796-MEH Document 44 Filed 07/08/22 USDC Colorado Page 3 of 3




                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 8, 2022, a true and correct copy of
the foregoing Notice of Filing Amended Answer was filed with the Clerk of Court using the
CM/ECF system, which will service such filing on the following:

      Tonya S. Andrews
      Assistant U.S. Attorney
      Chief, Asset Recovery Section
      U.S. Attorney’s Office for the District of Colorado
      1801 California Street, Suite 1600
      Denver, CO 80202
      Tonya.Andrews@usdoj.gov
      Attorney for United States of America.

      Claimant
      Edge Capital Investments, Ltd.

      Represented by
      Branden D. Lewiston
      Aegis Law Group LLP
      801 Pennsylvania Avenue, N.W.
      Market Square West
      Suite 740
      Washington, DC 20004
      202-737-3500
      Email: blewiston@aegislawgroup.com




                                                 /s/ Destiny Brittain
                                                 Destiny Brittain




                                           -3-
